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     Claimant Citizens of Humanity, LLC
   7
   8
   9                          UNITED STATES DISTRICT COURT
  10               CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  11
  12 BACKGRID USA, INC., a California              Case No. 2:19-cv-06078-CJC (MRWx)
     corporation,                                  Hon. Cormac J. Carney
  13
                  Plaintiff,
  14                                               CITIZENS OF HUMANITY, LLC’S
           vs.                                     ANSWER TO COMPLAINT AND
  15                                               AFFIRMATIVE DEFENSES;
     CITIZENS OF HUMANITY, LLC, a                  COUNTER-CLAIMS; AND
  16 Delaware limited liability company,           DEMAND FOR JURY TRIAL
  17                  Defendant.
                                                   Complaint Filed: July 15, 2019
  18 CITIZENS OF HUMANITY, LLC, a
     Delaware limited liability company,
  19
                  Counter-Claimant.
  20
           vs.
  21
     BACKGRID USA, INC., a California
  22 corporation,
  23              Counter-Defendant.
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   1               Defendant Citizens of Humanity, LLC (“Citizens” or “Defendant”), by and
   2 through its counsel of record, hereby answers the allegations in plaintiff Backgrid
   3 USA, Inc.’s (“Backgrid” or “Plaintiff”) Complaint as follows.
   4               1.    Defendant admits that this is a civil action claiming copyright
   5 infringement and that the Court has subject matter jurisdiction.
   6               2.    Defendant admits that venue is proper in this district.
   7               3.    Defendant lacks sufficient information and belief to admit or deny the
   8 allegations in this paragraph and, on that basis, denies them.
   9               4.    Defendant admits that its principal place of business is at 5715 Bickett
  10 Street, Huntington Park, CA 90255, but otherwise denies the allegations in
  11 paragraph 4.
  12               5.    Defendant lacks sufficient information and belief to admit or deny the
  13 allegations in this paragraph and, on that basis, denies them.
  14               6.    Defendant lacks sufficient information and belief to admit or deny the
  15 allegations in this paragraph and, on that basis, denies them.
  16               7.    Defendant lacks sufficient information and belief to admit or deny the
  17 allegations in this paragraph and, on that basis, denies them.
  18               8.    Defendant lacks sufficient information and belief to admit or deny the
  19 allegations in this paragraph and, on that basis, denies them.
  20               9.    Defendant admits that: (a) it uses the brand names “Citizens of
  21 Humanity” and “AGOLDE”; (b) it is an apparel manufacturer with an online store;
  22 (c) it sells in retailers such as Anthropologie, Barney’s New York, Macy’s, Neiman
  23 Marcus, and Nordstrom; and (d) that paragraph 9 partially quotes from statements
  24 on the Citizens website. Defendant otherwise denies the remaining allegations and
  25 implications in paragraph 9.
  26               10.   Defendant lacks sufficient information and belief to admit or deny the
  27 allegations in this paragraph and, on that basis, denies them.
  28               11.   Defendant denies that it “appropriated for itself” any copyrighted
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   1 works. That Defendant did not obtain a license is a legal question and thus
   2 Defendant lacks sufficient information and belief to admit or deny and, on that
   3 basis, denies.
   4               12.   Defendant incorporates by reference its response to the allegations of
   5 paragraph 1 through 11 above as though set forth fully herein.
   6               13.   Defendant denies the allegations in paragraph 13.
   7               14.   Defendant denies the allegations in paragraph 14.
   8               15.   That Defendant did not have permission, license, or consent from
   9 BackGrid to use the photographs in question is a legal question and thus Defendant
  10 lacks sufficient information and belief to admit or deny and, on that basis, denies.
  11               16.   Defendant denies the allegations in paragraph 16.
  12               17.   Defendant incorporates by reference its response to the allegations of
  13 paragraph 1 through 16 above as though set forth fully herein.
  14               18.   The statements made in paragraph 18 are statements of law and thus
  15 Defendant lacks sufficient information and belief to admit or deny and, on that
  16 basis, denies.
  17               19.   Defendant denies the allegations in paragraph 19.
  18               20.   Defendant denies the allegations in paragraph 20.
  19               21.   Defendant denies the allegations in paragraph 21.
  20               22.   Defendant denies the allegations in paragraph 22.
  21               23.   Defendant denies the allegations in paragraph 23.
  22               24.   Defendant denies the allegations in paragraph 24.
  23                                   AFFIRMATIVE DEFENSES
  24               Defendant further alleges the affirmative defenses set forth below. Defendant
  25 reserves the right to amend this Answer to assert any and all additional claims and
  26 defenses when, and if warranted, in the course of further discovery, investigation,
  27 and/or preparation for trial.
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   1                               FIRST AFFIRMATIVE DEFENSE
   2                                         (Unclean Hands)
   3               25.   The Complaint, and each and every alleged claim for relief therein, is
   4 barred by the doctrine of unclean hands.
   5                              SECOND AFFIRMATIVE DEFENSE
   6                                             (Fair Use)
   7               26.   The Complaint, and each and every alleged claim for relief therein, is
   8 barred by the doctrine of fair use.
   9                               THIRD AFFIRMATIVE DEFENSE
  10                                 (Fraud on the Copyright Office)
  11               27.   The Complaint, and each and every alleged claim for relief therein, is
  12 barred by Plaintiff’s fraud on the Copyright Office.
  13                             FOURTH AFFIRMATIVE DEFENSE
  14                                        (Copyright Misuse)
  15               28.   The Complaint, and each and every alleged claim for relief therein, is
  16 barred by Plaintiff’s misuse of the alleged copyrights.
  17                               FIFTH AFFIRMATIVE DEFENSE
  18                              (Invalidity/Ownership of Copyrights)
  19               29.   The Complaint, and each and every alleged claim for relief therein, is
  20 barred because the asserted copyrights are invalid and/or because Plaintiff is not the
  21 valid owner of the alleged copyrights.
  22                               SIXTH AFFIRMATIVE DEFENSE
  23                                        (Lack of Standing)
  24               30.   The Complaint, and each and every alleged claim for relief therein, is
  25 barred in whole or in part because Plaintiff lacks standing to sue.
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   1                               ADDITIONAL DEFENSES
   2         31.    In addition to the defenses set forth above, Citizens reserves the right to
   3 raise, assert, and rely upon any and all other defenses that may apply, pending the
   4 outcome of further investigation and discovery in this matter.
   5                                 PRAYER FOR RELIEF
   6         Whereby, Defendant prays for relief on Plaintiff’s Complaint as follows:
   7         A.     That Plaintiff take nothing from its Complaint;
   8         B.     For an Order dismissing the Complaint with prejudice;
   9         C.     For an award of attorneys’ fees, costs, and expenses in this action; and
  10         D.     For all such other and further relief as the Court may deem just and
  11         proper.
  12                                  COUNTER-CLAIMS
  13                                      THE PARTIES
  14         1.     Counter-Claimant Citizens of Humanity, LLC (“Citizens” or “Counter-
  15 Claimant”), is a Delaware limited liability company with its principal place of
  16 business in Los Angeles County, California.
  17         2.     Counter-Defendant BackGrid USA, Inc. (“BackGrid” or “Counter-
  18 Defendant”), has alleged that it is a California corporation with its principal place of
  19 business in Los Angeles County, California.
  20                             JURISDICTION AND VENUE
  21         3.     This Court has subject matter jurisdiction under 28 U.S.C. sections
  22 1331 and 1338 in that two of the counter-claims arise under the federal Copyright
  23 Act. This Court has subject matter over the two state-law counter-claims based on
  24 28 U.S.C. section 1367 in that the state-law counter-claims are related to the federal
  25 claims and form part of the same case or controversy.
  26         4.     Venue is proper in this district under 28 U.S.C. sections 1391(b) and
  27 (c) in that BackGrid claims it resides here, and a substantial part of the events or
  28 omissions giving rise to the counter-claim occurred here.
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   1         5.     This Court has personal jurisdiction over BackGrid in that BackGrid is
   2 a California corporation with its principal place of business in California.
   3                              FACTUAL BACKGROUND
   4         6.     On April 29, 2018, Citizens received a demand letter from a company
   5 called Okularity, which held itself out as a representative of BackGrid. The letter
   6 accused Citizens of posting on its Instagram page three photographs that purportedly
   7 infringed upon photographs owned by BackGrid. The three photographs in question
   8 appeared to be paparazzi shots of Zayn Malik, Sofia Richie, and Jessica Biel. All
   9 three celebrities were wearing Citizens apparel in the photographs.
  10         7.     Prior to receipt of the April 29 letter, Citizens was unaware of
  11 BackGrid or any rights purportedly held by BackGrid in the photographs. Upon
  12 receiving the April 29 letter, and despite questioning the validity of BackGrid’s
  13 claimed rights, Citizens promptly removed the three photographs from its Instagram
  14 account and agreed not to use them again.
  15         8.     BackGrid nevertheless persisted with repeated requests for money,
  16 emphasizing in particular that two of the three photographs in question were
  17 registered copyrights and thus purportedly exposed Citizens to statutory damages of
  18 up to $150,000 per work for willful infringement.
  19         9.     Citizens refused to agree to what it believed were monetary demands of
  20 BackGrid that were unjustified and would have resulted in BackGrid receiving an
  21 unearned windfall.
  22         10.    On May 16, 2019, Brian K. Brookey of Tucker Ellis LLP emailed
  23 counsel for Citizens. Mr. Brookey stated that he represented BackGrid. Even
  24 though the three photographs at issue had been removed from Citizens’s Instagram
  25 account over a year earlier, Mr. Brookey stated: “Because Citizens of Humanity
  26 continues to disregard BackGrid’s intellectual property rights, we have drafted and
  27 are prepared to file the attached complaint for copyright infringement. Before we do
  28 so, we would like to give your client one last chance to negotiate a resolution in
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   1 good faith. Please let me know if your client is willing to finally do so, and if not,
   2 whether you are authorized to accept service of the summons and complaint. I will
   3 be out of the office for a while.”
   4         11.   Unbeknownst to Citizens at the time, BackGrid was taking other,
   5 unlawful actions to try to “motivate” Citizens to settle on BackGrid’s terms.
   6         12.   On May 16, 2019 (i.e., the same day as Mr. Brookey sent his email),
   7 and continuing over the following few days, BackGrid sent Instagram eight separate
   8 notices of copyright infringement (i.e., NOCIs) related to eight photographs on
   9 Citizens’s Instagram accounts. Most of the eight photographs had been posted years
  10 before. The eight photographs were different from the three photographs that had
  11 been the subject of the parties’ prior communications.
  12         13.   On information and belief, BackGrid knew that it did not own
  13 copyrights in the eight photographs that were the subject of its May 2019 NOCIs,
  14 but submitted the fraudulent NOCIs to Instagram in a deliberate scheme to place
  15 Citizens’s Instagram accounts in jeopardy of being disabled by Instagram.
  16 Alternatively, even if BackGrid believed it owned copyrights in some or all of the
  17 eight photographs, BackGrid did not believe that Citizens’s activity was infringing.
  18         14.   On information and belief, BackGrid submitted a separate takedown
  19 notice for each individual photograph on multiple days intentionally. BackGrid did
  20 so to try to mislead Instagram into finding that Citizens is a “repeat infringer” whose
  21 accounts required disabling.
  22         15.   On information and belief, from past experience, BackGrid knew that
  23 Instagram would be more likely to disable an account in response to multiple NOCIs
  24 submitted separately on multiple days because that manner of submission created
  25 the (false) impression of a deliberate infringer unwilling to stop despite prior
  26 takedowns.
  27         16.   On information and belief, BackGrid deliberately engaged in its
  28 fraudulent scheme to pressure Citizens to pay off BackGrid to withdraw the NOCIs
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   1 and thus ensure the continued viability of its Instagram accounts. In essence,
   2 through the fraudulent NOCIs, BackGrid took Citizens’s Instagram pages hostage
   3 and would not consent to their release absent Citizens paying a ransom.
   4        17.    BackGrid’s fraudulent scheme at first seemed to go according to plan.
   5 On May 29, 2019, Citizens discovered email notifications from Instagram disclosing
   6 the bad-faith NOCIs submitted by BackGrid and Instagram’s removal of the eight
   7 images that were the subject of the NOCIs. That same day, Instagram informed
   8 Citizens that its five Instagram accounts would be deleted (and thus unavailable to
   9 the hundreds of thousands of followers of the accounts). In explanation, Instagram
  10 stated that “we’ve removed photos or videos from your Instagram account(s) several
  11 times because we’ve received reports that content your account(s) have posted have
  12 infringed someone else’s intellectual property rights.” In other words, by submitting
  13 multiple, separate NOCIs on different days, as opposed to a single NOCI with all
  14 eight photographs, BackGrid had succeeded in misleading Instagram into
  15 mistakenly deeming Citizens a “repeat infringer” worthy of expulsion from
  16 Instagram.
  17        18.    On June 2, counsel for Citizens wrote Mr. Brookey an email expressing
  18 surprise that Mr. Brookey had not mentioned the eight photographs that were the
  19 subject of the NOCIs when he had written his May 16 letter enclosing a draft
  20 complaint for copyright infringement. Citizens’s counsel requested from Mr.
  21 Brookey “all information and documents, including but not limited to copyright
  22 registrations and assignments, in BackGrid’s possession related to Back Grid’s
  23 claimed ownership of the photographs that Back Grid demanded Instagram to take
  24 down from Citizens’ pages.” Mr. Brookey refused to provide the requested proof of
  25 the validity of BackGrid’s NOCIs.
  26        19.    Over the next several weeks, counsel for Citizens tried in vain to
  27 convince Instagram to withdraw its threat to disable Citizens’s accounts. Even
  28 though Citizens noted that the NOCIs were devoid of underlying evidence and
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   1 appeared to be submitted in bad faith, Instagram would not budge.
   2         20.    Instagram’s outside lawyer ultimately instructed Citizens’s counsel to
   3 submit a formal DMCA counter-notification disputing the eight NOCIs.
   4         21.    On June 28, Citizens’s counsel submitted the formal counter-
   5 notification as instructed. Nevertheless, later that same day, Citizens learned, much
   6 to its shock and dismay, that Instagram had disabled Citizens’s five Instagram
   7 accounts anyway.
   8         22.    When pressed for answers, Instagram stated that it would restore the
   9 accounts if BackGrid did not, within 14 business days of the counter-notification,
  10 file a lawsuit “seeking a court order to restrain you from engaging in infringing
  11 activity on Facebook related to that content.”
  12         23.    On July 15, BackGrid filed the above-captioned lawsuit against
  13 Citizens. BackGrid did not, however, accuse Citizens of infringing any of the eight
  14 alleged copyrights that had been the subject of the NOCIs. Nor did BackGrid seek
  15 “a court order to restrain [Citizens] from engaging in infringing activity on
  16 Facebook related to that content.”
  17         24.    On information and belief, BackGrid notified Instagram of the filing of
  18 the lawsuit in a bad-faith attempt to mislead Instagram into believing that BackGrid
  19 had filed suit related to the eight photographs that had been the subject of the NOCIs
  20 and thus to deceive Instagram into continuing to disable Citizens’s accounts.
  21         25.    On July 19 – i.e., 14 business days following submission of the
  22 counter-notification – counsel for Citizens wrote to counsel for Instagram. Counsel
  23 for Citizens noted that, despite the passage of 14 business days, BackGrid had not
  24 filed a lawsuit related to the photographs that were the subject of the counter-
  25 notifications. Counsel for Citizens thus renewed Citizens’s demand that Instagram
  26 restore its accounts.
  27         26.    On July 23, Instagram’s lawyer responded that Instagram was “looking
  28 into this” and that she “expect[ed] to be in touch shortly.”
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    1         27.    On July 24, Instagram restored all Citizens accounts.
    2         28.    Citizens is a leading fashion brand with customers and fans worldwide.
    3 Citizens relies on social media, including Instagram, to promote its products and
    4 brand worldwide. Indeed, Citizens’s Instagram accounts, in combination, have
    5 traditionally had over 270,000 followers, and Citizens regularly generates sales that
    6 are attributable to its Instagram sites. The disabling of Citizens’s Instagram
    7 accounts for nearly a month thus caused Citizens harm in the form of lost profits,
    8 harm to its reputation and goodwill, and attorney’s fees and other costs incurred in a
    9 multi-week campaign to restore the accounts.
   10                               FIRST COUNTER-CLAIM
   11                             (Violation of 17 U.S.C. §512(f))
   12         29.    Citizens incorporates by this reference the allegations set forth above as
   13 though set forth fully herein.
   14         30.    By issuing takedown notices to Instagram in May 2019, BackGrid
   15 knowingly and materially misrepresented that eight photographs on Citizens’s
   16 Instagram pages infringed upon copyrights owned by BackGrid.
   17         31.    BackGrid issued its takedown notices to Instagram knowing that it did
   18 not own copyrights in the photographs described in the takedown notices.
   19         32.    Alternatively, even if BackGrid believed it owned copyrights in some
   20 or all of the eight photographs, BackGrid did not believe that Citizens’s activity was
   21 infringing.
   22         33.    BackGrid issued its takedown notices in a bad-faith scheme to gain
   23 leverage against Citizens in pending, unrelated settlement negotiations and thus to
   24 extract an unjust and unwarranted settlement payment from Citizens.
   25         34.    Instagram relied upon BackGrid’s misrepresentations in disabling
   26 access to Citizens’s Instagram accounts.
   27         35.    Due to BackGrid’s bad-faith takedown notifications that resulted in the
   28 disabling of access to Citizens’s Instagram accounts, Citizens suffered damages in
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    1 the form of lost profits, harm to its goodwill and reputation, and attorney’s fees and
    2 costs.
    3                              SECOND COUNTER-CLAIM
    4                         (Intentional Interference with Contract)
    5          36.   Citizens incorporates by this reference the allegations set forth above as
    6 though set forth fully herein.
    7          37.   Citizens and Instagram’s owner, Facebook, had a valid contract
    8 pursuant to which Instagram agreed to provide social media services to Citizens in
    9 exchange for Citizens complying with Instagram policies.
   10          38.   BackGrid had knowledge of Citizens’s contract with Facebook.
   11          39.   BackGrid engaged in intentional acts designed to induce a breach or
   12 disruption of the contractual relationship. Specifically, on information and belief,
   13 BackGrid: (a) demanded that Instagram disable Citizens’s accounts or expose itself
   14 to potential liability; and (b) deceived Instagram into believing BackGrid had filed
   15 suit against Citizens based on photographs that had been the subject of prior NOCIs,
   16 thus ensuring Citizens’s accounts would remain disabled. BackGrid engaged in
   17 these actions for the primary purpose of pressuring Citizens to pay BackGrid
   18 money.
   19          40.   BackGrid’s intentional acts resulted in an actual breach or disruption of
   20 the contractual relationship between Citizens and Instagram – namely, the disabling
   21 of Citizens’s Instagram accounts for weeks and harm to the goodwill Citizens had
   22 generated with Instagram over the years.
   23          41.   Due to BackGrid’s misconduct, Citizens suffered damages in the form
   24 of lost profits, harm to its goodwill and reputation, and attorney’s fees and costs.
   25          42.   Citizens is informed and believes, and thereon alleges, that BackGrid
   26 committed the foregoing acts with the intention of depriving Citizens of its legal
   27 rights, with oppression, fraud, and/or malice, and in conscious disregard of
   28 Citizens’s rights. Citizens is, therefore, entitled to an award of exemplary and
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    1 punitive damages, according to proof.
    2                                   THIRD COUNTER-CLAIM
    3                (Intentional Interference with Prospective Economic Advantage)
    4               43.   Citizens incorporates by this reference the allegations set forth above as
    5 though set forth fully herein.
    6               44.   Citizens and viewers of Citizens’s Instagram sites have an economic
    7 relationship that is likely to result in future economic benefit to Citizens in the form
    8 of product sales and profits, positive promotion, and goodwill.
    9               45.   BackGrid had knowledge of Citizens’s potential economic relationship
   10 with viewers of Citizens’s Instagram sites.
   11               46.   BackGrid engaged in intentional acts designed to induce a breach or
   12 disruption of the potential economic relationships between Citizens and viewers of
   13 Citizens’s Instagram sites. Specifically, on information and belief, BackGrid: (a)
   14 demanded that Instagram disable Citizens’s accounts or expose itself to potential
   15 liability; and (b) deceived Instagram into believing BackGrid had filed suit against
   16 Citizens based on photographs that had been the subject of prior NOCIs, thus
   17 ensuring Citizens’s accounts would remain disabled. BackGrid engaged in these
   18 actions for the primary purpose of pressuring Citizens to pay BackGrid money.
   19               47.   BackGrid’s intentional acts resulted in an actual breach or disruption of
   20 the relationship between between Citizens and viewers of Citizens’s Instagram sites,
   21 which could not access the sites for weeks.
   22               48.   Due to BackGrid’s misconduct, Citizens suffered damages in the form
   23 of lost profits, harm to its goodwill and reputation, and attorney’s fees and costs.
   24               49.   Citizens is informed and believes, and thereon alleges, that BackGrid
   25 committed the foregoing acts with the intention of depriving Citizens of its legal
   26 rights, with oppression, fraud, and/or malice, and in conscious disregard of
   27 Citizens’s rights. Citizens is, therefore, entitled to an award of exemplary and
   28 punitive damages, according to proof.
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    1                                  FOURTH COUNTER-CLAIM
    2                                        (Declaratory Relief)
    3               50.   Citizens incorporates by this reference the allegations set forth above as
    4 though set forth fully herein.
    5               51.   There is an actual case or controversy concerning Citizens’s right to use
    6 the four photographs that are the subject of BackGrid’s complaint in this matter and
    7 the eight photographs that were the subject of the NOCIs described above.
    8               52.   Citizens contends that BackGrid does not own valid copyrights in any
    9 of the photographs, and BackGrid has contended that it does own valid copyrights in
   10 the photographs and that Citizens infringes upon BackGrid’s rights by publishing
   11 those photographs.
   12               53.   Accordingly, Citizens respectfully requests, pursuant to 28 U.S.C.
   13 section 2201, that the Court declare that BackGrid does not own valid copyrights in
   14 the photographs at issue and/or that Citizens is not infringing upon any valid
   15 copyright by using those photographs.
   16                                     PRAYER FOR RELIEF
   17               Whereby, Citizens prays for judgment against Backgrid on its Counter-
   18 Claims as follows:
   19               A.    For compensatory damages in an amount to be proven at trial;
   20               B.    For a declaratory judgment that BackGrid does not own valid
   21 copyrights in the photographs at issue and that Citizens is not infringing upon any
   22 rights of BackGrid by publishing those photographs;
   23               C.    For attorney’s fees and costs;
   24               D.    For pre-judgment and post-judgment interest; and
   25               E.    For such other and further relief as the Court may deem just and proper
   26 under the circumstances.
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    1 DATED: August 21, 2019                BROWNE GEORGE ROSS LLP
    2                                          Peter W. Ross
                                               Keith J. Wesley
    3
    4
                                            By:        s/ Keith J. Wesley
    5
    6                                       Attorneys for Defendant and Counter-Claimant
                                            Citizens of Humanity, LLC
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                                              -13-           Case No. 2:19-cv-06078-CJC (MRWx)
         DEFENDANT AND COUNTER-CLAIMANT CITIZENS OF HUMANITY, LLC’S ANSWER TO COMPLAINT;
                           COUNTER-CLAIMS; AND DEMAND FOR JURY TRIAL
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    1                                   DEMAND FOR JURY TRIAL
    2               Citizens hereby demands trial by jury as to all issues in this action triable by a
    3 jury.
    4 DATED: August 21, 2019                       BROWNE GEORGE ROSS LLP
    5                                                 Peter W. Ross
                                                      Keith J. Wesley
    6
    7
                                                   By:        s/ Keith J. Wesley
    8
    9                                              Attorneys for Defendant and Counter-Claimant
                                                   Citizens of Humanity, LLC
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